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IN TI-IE U'NITED STATES DISTRICT COURT
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WESTER.N' DIVISION SM 2‘ PH 0 2

 

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INTERNATIONAL PAPER COMPANY,
Plaintiff,
vs.

Civ. No. 04-2986-M1[P

GAINEY TR.ANSPORTATION
SERVICES, INC . ,

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Defendant.

 

ORDER FOLLOWING HEARING GRANTING IN PART DEFENDANT'S MOTION TO
COMPEL DISCOVERY

 

Before the court is defendant Gainey Transportation Services,
Inc.'s ("Gainey") Motion to Compel Discovery, filed May 17, 2005
(dkt #16). In its motion, Gainey seeks an order requiring
plaintiff International Paper Company ("IP") to "fully and
completely" answer interrogatory numbers l, 3, 5, 6, 7, 8, 13 and
14 of Gainey's First Set of Interrogatories_and to produce all non-
privileged documents responsive to request numbers 8 through ll of
Gainey's First Document Production Requests. Gainey also asks that
it be awarded its attorney's fees and costs incurred in bringing
this motion. On May 31, 2005, IP filed its response. With respect
to a majority of the interrogatories and document requests, IP
stated in its response that it has already provided all information

and produced all documents in its possession Which are responsive

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with Fiu!e 58 and/or 79(a) FHCP on Q: zj;£'@

  

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to these discovery requests, and that much of the information that
Gainey seeks in these discovery requests does not exist. Regarding
document requests 10 and 11, which seek transportation contracts,
rate schedules, and motor carrier committments for other trucking
companies with whom IP did business from October 1, 2001 through
October 1, 2005, IP argues that these documents are not relevant.
Moreover, IP contends that the production of this information would
violate the confidentiality provisions contained in the contracts
and that disclosure of this confidential commercial information to
Gainey would be harmful to IP.

On June 16, 2005, the court held a hearing on this motion.
Counsel for all parties were present and heard. At the conclusion
of the hearing, the court GRANTED the motion in part as follows:

l. On or before July 15, 2005, IP shall respond to
interrogatory numbers 1, 3, 5, 6, 7, 8, 13 and 14, and document
request numbers 8 and 9 by identifying, where appropriate,
responsive documents by bates numbers. If no additional responsive
information or documents are available, IP shall provide a
supplmental response stating such.

2. On or before July 15, 2005, IP shall respond to document
request numbers 10 and 11 by producing copies of all contracts,
rate schedules, and motor carrier commitments for other trucking
companies that IP used or by agreement may have used to provide

transportation services for the Gainey transport lanes at issue in

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this lawsuit, for the period from October 1, 2003 to the present.
The court finds that this information is relevant to the
litigation, including issues of mitigation of damages and expert
reports, as well as the pattern of practice of IP during this
specific time period. The court further finds that Gainey's need
for this information outweighs the potential harm to IP of
disclosure. These documents shall be produced subject to the
Stipulated Protective Order. IP may, prior to production, redact
those portions of these documents which do not relate to the Gainey
transport lanes at issue in this litigation.

3. Defendant's request for attorney's fees and expenses is

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TU M. PHAM
United States Magistrate Judge

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DENIED.

IT IS SO ORDERED.

 

 

Notice of Distribution

This notice confirms a copy cf the document docketed as number 22 in
case 2:04-CV-02986 Was distributed by faX, mail, or direct printing on
June 22, 2005 to the parties listed.

 

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Honorable .1 on McCalla
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